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IN THE UNITED STATES DISTRICT coURT """ ~il@

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FOR THE wEsTERN DISTRICT OF TENNESSE@§AUF
wESTERN DIVISION ’

 

PAUL FARNSWORTH a/k/ a
RONNIE BRADFIELD,

Plaintiff ,
vs. NO. O3-2950-B/V
EDWARD BAX'I`ER,

Defendant.

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ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

On February 24, 2005, plaintiff Paul Farnsworth, a/k/a
Ronnie Bradfield, Tennessee Department of Correction prisoner
number‘ 219625, who is currently' incarcerated. at the Northwest
Correctional Complex ill Tiptonville, Tennessee, filed ii motion
seeking appointment of counsel. The defendant has not responded to
this motion, and the time for a response has expired.

“There is no constitutional or . . . statutory right to
counsel in federal civil cases.” Farmer V. Haas, 990 F.2d 319, 323
(7th Cir. 1993). Pursuant to 28 U.S.C. § l915(d), a district court
is vested with discretion to appoint an attorney to represent an
indigent party in a civil case. McMath v. Alexander, 486 F. Supp.
156, 157 (M.D. Tenn. 1980). No funds have been appropriated to pay
the fees of any appointed counsel, however, and “§ 1915(d) does not

authorize the federal courts to make coercive appointments of

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with F\u|e 58 and/or 79(3) FHCP on \5 0

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counsel” to represent indigent civil litigants. Mallard v. United
States Dist. Court for the S. Dist. of Iowa, 490 U.S. 296, 310
(1989). Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (Bth
Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
prp §§ litigant's prior efforts to retain counsel, and his ability
to present the claims. Henrv v. Citv of Detroit Manpower Dep’t, 763
F.Zd 757, 760 (6th Cir. 1985); Wic[gins v. Sarqent, 753 F.2d 663,
668 (Sth Cir. 1985).

In this case, the plaintiff's motion does not demonstrate
the existence of extraordinary circumstances that would warrant
appointment of counsel. The facts concerning this claim are not
complex, and the plaintiff is able to conduct legal research,
promulgate discovery requests, and file and respond to motions.
Finally, the Court is aware that there is a severe shortage of
attorneys willing to accept appointment to prisoner civil rights
cases on a prp bgpg basis. Under these circumstances, and entirely
apart from the merits of the instant case, plaintiff's history of

filing meritless litigation does not make him a viable candidate

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for appointment of counsel.1 Accordingly, the motion for
appointment of counsel is DENIED.

IT IS SO ORDERED this l day of August, 2005.

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. EANIEL BREEN \
UNI ED sTATEs DISTRICT JUDGE

 

 

 

1 Farnsworth, using the name Ronnie Bradfield, has previously filed four
civil rights lawsuits in this district that were dismissed for failure to state a
claim or as frivolous. See Bradfield v. Citv of Memphis, et al., No. 96-3184-D/V
(W.D. Tenn. dismissed Feb. 3, 1997) (collecting cases). Accordingly, pursuant to
28 U.S.C. § l915(g), Farnsworth “may no longer file any action in this district in
which he proceeds ip forma pauperis unless he demonstrates that he “is under
imminent danger of serious physical injury.” Case No. 96-3184, 02/03/97 Order at
4 .

 

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Honorable J. Breen
US DISTRICT COURT

